                      IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

THE STATE OF MISSISSIPPI, EX REL.                  )
JIM HOOD, ATTORNEY GENERAL                         )
FOR THE STATE OF MISSISSIPPI,                      )
                                                   )
Plaintiff-Counterclaim Defendant,                  )
                                                   )
       v.                                          )          No. 3:08-CV-780-CWR-LRA
                                                   )
ENTERGY MISSISSIPPI, INC., ENTERGY                 )
CORPORATION, ENTERGY SERVICES,                     )
INC., AND ENTERGY POWER, INC.,                     )
                                                   )
Defendants-Counterclaim Plaintiffs.                )

                      DEFENDANTS’ PRE-TRIAL MEMORANDUM
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                                                   TABLE OF CONTENTS
                                                                                                                                     Page

INTRODUCTION ...........................................................................................................................2
ARGUMENT ...................................................................................................................................4
I.        The State’s Case Is Federally Preempted By The Federal Power Act .................................4
          A.         FERC Has Exclusive Jurisdiction To Review Challenges To Entergy
                     Mississippi’s And The Entergy System’s Exercise Of Discretion Granted
                     To Them By The Entergy System Agreement .........................................................4
          B.         The Pike County Exception To Federal Preemption Does Not Apply ....................7
II.       Alternatively, The Case Is Preempted By State Law And Is Within The Exclusive
          Jurisdiction Of The Mississippi Public Service Commission ............................................10
III.      At A Minimum, The State May Not Pursue Damages On Behalf Of Entergy
          Mississippi Customers Other Than The State ....................................................................16
CONCLUSION ..............................................................................................................................18




                                                                     i
                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)


                                                              CASES

AEP Gen. Co.,
     36 F.E.R.C. P61,226 (1986) ............................................................................................ 3, 8

AEP Tex. N. Co. v. Tex. Indus. Energy Consumers,
      473 F.3d 581 (5th Cir. 2006) .................................................................................. 3, 6, 8, 9

Appalachian Power Co. v. Pub. Serv. Comm’n of W. Va.,
      812 F.2d 898 (4th Cir. 1987) .......................................................................................... 3, 8

Breiding v. Eversource Energy,
       No. 1:17-cv-12274, 2018 WL 4344996 (D. Mass. Sept. 11, 2018) ................................ 6, 7

Cellular S., Inc. v. BellSouth Telecommunications, LLC,
       214 So.3d 208 (Miss. 2017) .............................................................................................. 14

Centennial Ins. Co. v. Ryder Truck Rental, Inc.,
      149 F.3d 378 (5th Cir. 1998) ............................................................................................ 16

Entergy Corp. v. Jenkins,
       469 S.W.3d 330 (Tex. App. 2015) .................................................................................. 6, 7

Entergy La., Inc. v. La. Pub. Serv. Comm’n,
       539 U.S. 39 (2003) ..................................................................................................... passim

Estate of Stamper v Edwards,
        607 So.2d 1141 (Miss. 1992) ............................................................................................ 12

Hughes Aircraft Co. v. United States ex rel. Schmuer,
      520 U.S. 939 (1997) .......................................................................................................... 15
Kennedy v. Jefferson Cnty. Hosp.,
      No. 5:13-cv-226, 2016 WL 4275790 (S.D. Miss. Aug. 12, 2016) ..................................... 8

Landgraf v. USI Film Prods.,
      511 U.S. 244 (1994) .......................................................................................................... 15

Loumar, Inc. v. Smith,
      698 F.2d 759 (5th Cir. 1983) .............................................................................................. 8

Millar v. Houghton,
       115 F.3d 348 (5th Cir. 1987) .............................................................................................. 8

Miss. Dep’t of Corr. v. Roderick & Solange MacArthur Justice Ctr.,
       220 So.3d 929 (Miss. 2017) .............................................................................................. 14



                                                                  ii
Miss. ex rel. Hood v AU Optronics Corp.,
       701 F.3d 796 (5th Cir. 2012) .................................................................................. 3, 16, 17

Miss. ex rel. Hood v. Bristol-Myers Squibb,
       No. 1:12-CV-00179, 2013 WL 3280267 (S.D. Miss. June 27, 2013) .............................. 17

Miss. Rural Water Ass’n v. Miss. Pub. Serv. Comm’n,
       222 So.3d 288 (Miss. 2017) .............................................................................................. 11

Saqui v. Pride Cent. Am., LLC,
       595 F.3d 206 (5th Cir. 2010) .............................................................................................. 8

Stone v. Indep. Linen Serv. Co.,
       55 So.2d 165 (1951) .......................................................................................................... 14

The Door Shop, Inc. v. Alcorn County Elec. Power Ass’n,
      261 So.3d 1099 (Miss. 2018) ............................................................................................ 15
USPCI of Miss., Inc. v. State ex rel. McGowan,
      688 So.2d 783 (Miss. 1997) .............................................................................................. 14


                                                              STATUTES

16 U.S.C. § 824d ......................................................................................................................... 2, 4

28 U.S.C. § 1332(d)(11)(B)(i) ...................................................................................................... 17

Miss. Code Ann. § 77-1-43 ................................................................................................. 3, 11, 12

Miss. Code Ann. § 77-1-43(2) ...................................................................................................... 11

Miss. Code Ann. § 77-3-5 ................................................................................................. 11, 12, 15

S.B. § 2295 ............................................................................................................................. passim


                                                     OTHER AUTHORITIES
Jim Hood: Entergy ‘tricked’ PSC in approving rates with misleading info,
      CLARION LEDGER (Mar. 10, 2018) .................................................................................... 17


                                                         FEDERAL CASES

Fed. R. Civ. P. 12(c) ............................................................................................................. 2, 7, 10

Fed. R. Civ. P. 54(b) ....................................................................................................................... 8




                                                                      iii
        Defendants appreciate the Court’s invitation to submit a pre-trial memorandum.

Defendants will present their legal and factual positions for trial in their Proposed Findings of Fact

and Conclusions of Law to be filed on March 27, 2019, and will not burden the Court by repeating

all of those positions here. Instead, Defendants respectfully file this pre-trial memorandum to

highlight for the Court three legal issues that remain pending on Defendants’ summary judgment

motions and that Defendants believe would be prudent to address before trial.

        A decision for Defendants on either of the first two issues (federal and state preemption)

would dispose of this case in its entirety and obviate the need for the bench trial altogether.

Defendants respectfully submit that both issues turn solely on clear legal principles and undisputed

facts that enable the Court to resolve them before trial. The federal preemption issue in particular

turns on the U.S. Supreme Court’s binding decision in Entergy Louisiana, Inc. v. Louisiana Public

Service Commission, 539 U.S. 39, 49-50 (2003) (“ELI”), which Defendants respectfully submit

warrants careful consideration before this Court stands in the shoes of the Federal Energy

Regulatory Commission (“FERC”) and decides whether Entergy Mississippi, Inc. (“EMI”) and/or

the Entergy System violated a FERC-approved federal tariff, the Entergy System Agreement

(“ESA”). A decision for Defendants on the third issue (the Attorney General’s lack of authority

to seek damages on behalf of private individuals and businesses) would not eliminate the need for

trial, but would greatly narrow the scope of damages and thus advance the prospect for settlement.

And even if the Court is inclined to deny Defendants’ motions for summary judgment, a decision

before trial would further judicial economy. Such a decision would, if based on the existence of a

dispute of fact, allow the parties to address that dispute during trial and, if based on a ruling of law,

allow the parties to avoid an extensive presentation of evidence on the issue during trial.




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       Defendants hope that selecting these three issues for special pre-trial focus will be of

assistance to the Court. Defendants remain available to address these issues in oral argument

before the Court at any time at the Court’s convenience.1

                                        INTRODUCTION

       This case is federally preempted under the Supremacy Clause of the U.S. Constitution, Art.

VI, cl. 2. Under the filed-rate doctrine, FERC has exclusive jurisdiction over challenges to rates

(including decisions that affect rates) charged under a federal tariff that is approved by FERC

under the Federal Power Act, 16 U.S.C. § 824d. This is true even if the challenge is styled (as

here) an action for consumer protection, antitrust, fraud, contract or the like. And this is true even

where (as here) a FERC tariff delegates discretion over the challenged decisions to a regulated

entity. The U.S. Supreme Court so held in ELI, 539 U.S. at 49-50, and ELI disposes of the federal

preemption issue here. See Point I.A, infra.

       Judge Wingate correctly appreciated these federal preemption principles in his Rule 12(c))

order, but declined to find federal preemption nonetheless based solely on the so-called Pike

County exception to the filed-rate doctrine, under which a state public service commission may

review the prudence of a purchasing utility’s choice between two wholesale sources of supply at

FERC-approved prices. But the Pike County exception applies only to purchasing decisions by

standalone utilities; it does not apply to purchasing decisions made by a utility that belongs multi-

utility, multi-state system like the Entergy System. Both the Fourth Circuit and FERC itself have

so held. See Appalachian Power Co. v. Pub. Serv. Comm’n of W. Va., 812 F.2d 898, 903 (4th Cir.



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   To be clear, by highlighting three issues in this pre-trial memorandum, Defendants are not
waiving additional issues that were presented in their previously filed summary judgment briefs.
Defendants reserve their right to advance those issues and others in their forthcoming Proposed
Findings of Fact and Conclusions of Law and during and after trial.

                                                  2
1987), cited approvingly by AEP Tex. N. Co. v. Tex. Indus. Energy Consumers, 473 F.3d 581, 586

n.20 (5th Cir. 2006); see also AEP Gen. Co., 36 F.E.R.C. P61,226 (1986). FERC has exclusive

jurisdiction over decisions in an interstate system like the Entergy System for good reason; only

FERC has the interstate perspective that allows it to balance harms and benefits to utilities and

consumers across state lines. See Point I.B, infra.

        If this Court does not accept Defendants’ position on federal preemption, Defendants

respectfully submit that this Court should hold that state-law preemption applies, again as a matter

of law. Whatever ambiguity may have existed before July 1, 2018, large majorities of the

Mississippi House and Senate (followed by the Governor) have now made clear that the Attorney

General may institute proceedings in court only “at the request of the commission after notice and

hearing.” S.B. 2295 § 19 (codified at Miss. Code Ann. § 77-1-43) (Doc. 262-1 at 21-22). No such

request has been made; the Attorney General therefore must bring his complaint in the first

instance to the Mississippi Public Service Commission (“MPSC”). See Point II, infra.

       If this Court is not inclined to accept either of Defendants’ preemption arguments before

trial, Defendants respectfully submit that this Court at a minimum should make a separate legal

ruling before trial that would narrow the case and possibly facilitate a settlement: The Court should

rule, under Miss. ex rel. Hood v AU Optronics Corp., 701 F.3d 796, 800-01 (5th Cir. 2012), rev’d

on other grounds, 571 U.S. 161 (2014), that the State has standing to seek recovery only for

alleged harms the State itself suffered as a customer of EMI, not for alleged harms that private

individuals and businesses suffered as customers of EMI. See Point III, infra.




                                                 3
                                            ARGUMENT

I.      The State’s Case Is Federally Preempted By The Federal Power Act

        A.      FERC Has Exclusive Jurisdiction To Review Challenges To Entergy
                Mississippi’s And The Entergy System’s Exercise Of Discretion Granted To
                Them By The Entergy System Agreement

        The State here challenges the exercise of discretion by Entergy System management and

EMI under a federal tariff, the ESA, that FERC approved pursuant to its authority under the Federal

Power Act, 16 U.S.C. § 824d. The ESA governed dealings among the Entergy Operating

Companies in the multi-state Entergy System during the time period at issue. Sections 4.02 and

3.01 of the ESA expressly granted EMI and the Entergy System the discretion to make purchasing

and generation decisions like those the State challenges here. These provisions of the ESA render

the challenge here federally preempted.

        Specifically, ESA Section 4.02 provides that “[t]he [Entergy Operating] Companies, with

the consent of or under conditions specified by the Operating Committee, may agree to a contract

by one or more of them, for the purchase of capacity and/or energy from outside sources for the

account of a Company or Companies.” ESA § 4.02 (Doc. 262-1 at 11) (emphasis added); see also

ESA § 4.03 (Doc. 262-1 at 11) (“Services, through the System Operations Center, may purchase

energy under economic dispatch or emergency conditions ....”). And Section 3.01 provides that

“[t]he purpose of this Agreement is to provide the contractual basis for the continued planning,

construction, and operation of the electric generation, transmission and other facilities of the

Companies in such a manner as to achieve economies consistent with the highest practicable

reliability of service, subject to financial considerations, reasonable utilization of natural resources

and minimization of the effect on the environment.” ESA § 3.01 (Doc. 262-1 at 7) (emphasis

added); see also ESA § 30.02 (Doc. 262-1 at 14) (similar).




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       These provisions of the ESA place the State’s challenge here on all fours with one the U.S.

Supreme Court rejected as federally preempted in ELI, 539 U.S. 39, a decision involving the very

same ESA at issue in this case. ELI held that the federal filed-rate doctrine preempted an order of

the Louisiana Public Service Commission (“LPSC”) purporting to find the Entergy Operating

Committee’s exercise of discretion over classification of generation facilities imprudent. Id. at 49-

50. Specifically, the Court held that the ESA “leaves the classification of ERS [Extended Reserve

Shutdown] units to the discretion of the [Entergy System] operating committee,” id. at 49,

preempting the LPSC from second-guessing the Operating Committee’s classification decisions.

Moreover, the Court noted that the decision to classify certain generators as available would have

an interstate effect: it would “increas[e] ELI’s [Entergy Louisiana’s] cost equalization payments”

to the other Entergy Operating Companies located outside Louisiana. Id. at 44.

       ELI made clear that federal preemption bars the States from second-guessing a utility

system’s exercise of its delegated discretion under a FERC-approved tariff just as much as it bars

States from second-guessing the rate-related decisions of FERC itself. As the Court stated, “It

matters not whether FERC has spoken to the precise classification of ERS units, but only whether

the FERC tariff dictates how and by whom that classification should be made.” Id. at 50. Here,

as in ELI, the ESA clearly provides for “how and by whom” purchasing and generation decisions

should be made, as well as how the resulting costs are to be allocated among the Entergy Operating

Companies. Accordingly, just as in ELI, where the LPSC’s “second-guessing of the classification

of ERS units is pre-empted” when performed in the LPSC’s own proceeding rather than in a FERC

proceeding, id., the State of Mississippi is precluded in the instant case, as a matter of law, from

arguing in this Court rather than before FERC that the Defendants should have purchased “less




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costly third-party power [that] was available for EMI and/or Entergy to purchase during the

damages period.” Doc. 262-18 at ¶ 5; see also, e.g., Doc. 135 at ¶¶ 38, 44, 53.

       Defendants respectfully submit that the Court may find instructive Entergy Corp. v.

Jenkins, 469 S.W.3d 330, 345 (Tex. App. 2015), which applied ELI to find federal preemption in

circumstances identical to those here. There, the Texas Court of Appeals considered a theory

identical to Plaintiff’s—that the Entergy System and/or the individual Entergy Operating Company

in Texas should have purchased more third-party power instead of running its legacy units. See

id. at 339; see also Jenkins, Findings Of Fact And Conclusions Of Law On Pltfs.’ Mtn. To Certify

¶ 122 (Tex. Dist. Ct. Apr. 30, 2012) (Doc. 262-14 at 48) (“Dr. DeRamus specifically testified that

individual operating companies [such as Entergy Texas, Inc.] have an option to purchase lower

cost power from third-parties subject to the agreement of the operating committee.”). The court

found that the suit was preempted by the filed-rate doctrine, explaining: “Although Jenkins does

not allege breach of the FERC-approved ESA as a cause of action, he challenges Entergy’s

purchasing decisions—whether to use allegedly available third-party electricity or system-

generated electricity—which Entergy undertook pursuant to the ESA. Determining whether

Entergy permissibly exercised its discretion in making its purchasing decisions thus necessarily

requires consideration of the ESA, a FERC-approved tariff.” Id. at 343. Jenkins proceeded to

hold, citing the Fifth Circuit’s decision in AEP Tex., 473 F.3d at 585, that “FERC, not the state, is

the appropriate arbiter of any disputes involving a tariff’s interpretation.” 469 S.W.3d at 343.

       Breiding v. Eversource Energy, 344 F. Supp.3d 433 (D. Mass. 2018), appeal pending, No.

18-1995 (1st Cir.), is similarly instructive. There, electricity customers sued companies with

electric utility and natural gas distribution subsidiaries. Id. at 438-43. They brought federal and

state claims “assert[ing] that defendants restricted New England’s supply of natural gas, a key



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component in the generation of over half the electricity in New England and, as a result, caused

New Englanders to pay nearly $3.6 billion dollars more for retail electricity.” Id. at 437.

Defendants allegedly restricted gas supply by purchasing transmission rights (thus reserving

pipeline space), and then neither using the rights nor releasing them. Id. at 443. The court

dismissed the suit as preempted under the federal filed-rate doctrine, reasoning that, “to award

monetary relief to retail electricity consumers, the Court would be required to determine the

difference between wholesale electricity rates during the class period and hypothetical rates that

would have been charged but for Defendants’ purported anticompetitive conduct. This is exactly

the analysis the filed rate doctrine prohibits.” Id. at 447; see also id. at 446 (“[T]he Court cannot

determine Defendants’ liability … without first deciding the reasonableness of wholesale

electricity rates approved by FERC ….”).

       Importantly, holding the State’s case federally preempted here, as did the courts in ELI,

Jenkins, and Breiding, would not leave complainants in general or the State here without a remedy.

FERC has adjudicated complaints concerning conduct that is the same as or similar to the conduct

the State challenges here. See, e.g., Entergy Servs., Inc., 128 F.E.R.C. P63,015, 66,116 (2009)

(claim that Entergy System adopted rules for running its owned units that “decreas[ed] the

potential savings from off-system purchases”), aff’d in part, rev’d in part, 137 F.E.R.C. P61,029

(2011); Entergy Servs., Inc., 124 F.E.R.C. P63,026, 63,339 (2008) (claim that Entergy System

“fail[e]d to purchase lower cost energy allegedly available on the wholesale market”). The State

has demonstrated no reason why it cannot take its complaint to FERC rather than proceeding in

this Court.

       B.      The Pike County Exception To Federal Preemption Does Not Apply

       Judge Wingate did not gainsay any of the above settled federal preemption principles in

his Rule 12(c) decision, but concluded that the so-called Pike County exception to federal

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preemption applied to permit the State’s challenge. See Doc. 86 at 24-30. While Defendants

appreciate the delicacy of departing from a predecessor judge’s ruling, this Court is plainly

empowered, following the Fifth Circuit’s order that the case be reassigned, to correct any legal

error that Judge Wingate may have made, rather than leaving an error in place to be reversed by

the Fifth Circuit on appeal. See, e.g., Loumar, Inc. v. Smith, 698 F.2d 759, 763 (5th Cir. 1983);

Kennedy v. Jefferson Cnty. Hosp., No. 5:13-cv-226, 2016 WL 4275790, at *1 (S.D. Miss. Aug. 12,

2016) (Under Rule 54(b), “the Court ‘may reconsider and reverse its rulings any time before

entering final judgment’ … [and] renewed motions regarding interlocutory orders may be granted

‘even in the absence of new evidence or an intervening change in or clarification of substantive

law’” (quoting Millar v. Houghton, 115 F.3d 348, 350 (5th Cir. 1997), and Saqui v. Pride Cent.

Am., LLC, 595 F.3d 206, 210-11 (5th Cir. 2010)) (internal citations and brackets omitted)).

       Here the application of the Pike County exception to this case was legal error. That

exception applies only to a decision a single purchasing utility makes among FERC-approved

rates, not to a purchasing decision made by a utility that (as here) belongs to an integrated multi-

state system where purchasing decisions have effects across state lines, much less a purchasing

decision by that utility that is subject to a requirement that the system operating committee grant

its consent. As the Fourth Circuit explicitly found, “unlike the wholesale agreement at issue in

Pike County, the TEA [a system agreement similar to the ESA] has no distinct ‘buyer’ and ‘seller’

of energy,” and thus a challenge to its purchasing decision is uniquely within FERC’s and not any

one state’s jurisdiction. Appalachian Power Co., 812 F.2d at 904, cited approvingly by AEP Tex.,

473 F.3d at 586 n.20.

       FERC itself has similarly rejected the application of the Pike County exception to multi-

utility, multi-state systems. See AEP Gen. Co., 36 F.E.R.C. P61,226, 61,550 (1986). There, FERC



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recognized that a State might have residual, non-preempted authority to question the prudence of

a utility’s decision to enter a power exchange agreement “in light of the availability of alternative

power supplies,” but clarified that this was so only “[u]nder narrow, non-pool circumstances.” Id.

(emphasis added). In contrast, FERC stated, “where, as here, the transaction involves affiliated,

jurisdictional utilities, which are members of an integrated, interstate holding company

agreement, … they are clearly matters most appropriate resolved by this Commission [FERC] as

part of its overriding authority to evaluate and implement all applicable wholesale rate schedules.”

Id. (emphasis added). And as noted supra, at 6, the plaintiffs in Jenkins advanced the predicate

for the State’s mistaken invocation of the Pike County exception here: that Entergy Texas, Inc.

(“ETI”), which like EMI was a member of the multi-state Entergy System, could have sought and

obtained the Entergy Operating Committee’s consent for ETI to make purchases from independent

suppliers for ETI’s own account.

        An additional legal error in applying the Pike County exception is that every decision that

has applied the exception has held that the case may proceed before a state public service

commission, never before a court. See Doc. 263 at 27; Doc. 310 at 7 n.10. Thus, even if Pike

County applied (it does not), this case would be subject to state-law preemption and subject to

exclusive jurisdiction of the Mississippi Public Service Commission for the reasons set forth in

Point II, infra.

         As a final and independently sufficient reason to depart from Judge Wingate’s Pike County

ruling, the undisputed evidence developed during discovery confirms why FERC has exclusive

jurisdiction and the Pike County exception does not apply. As FERC itself noted in its AEP

decision, matters that cause interstate effects are best regulated by FERC, which has an interstate

perspective that no one State’s laws or elected officials or regulators can provide. In AEP and ELI,



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the challenged decisions stood to affect the costs paid by out-of-state utilities, and FERC is best

positioned to weigh such multi-state effects. Similarly here, there is now undisputed evidence

from the State’s own experts—evidence that was not in the record before Judge Wingate at the

Rule 12(c) stage—that Plaintiff’s theory, if adopted, would cause out-of-state harms. Specifically,

the additional purchases the State’s experts say EMI should have made under ESA Section 4.02

would have resulted in cost increases to Entergy Operating Companies in other States. E.g.,

Doc. 262-1 at 55-57 (excerpts from Mr. Copeland’s workpapers showing that, in 2006, Entergy

Louisiana’s and Entergy Gulf States’ costs would go up by $28 million and $36 million,

respectively); Doc. 310-1 at 123:12-14 (Dr. DeRamus’ deposition testimony that he “can envision

certain scenarios in which there is a change in terms of the actual costs borne [by the various

Entergy Operating Companies]”). This undisputed evidence, unavailable to Judge Wingate,

supports this Court’s entry of judgment as a matter of law that the case before the Court is federally

preempted.

II.    Alternatively, The Case Is Preempted By State Law And Is Within The Exclusive
       Jurisdiction Of The Mississippi Public Service Commission

       If the Court does not hold the case preempted by federal law, it should nonetheless enter

judgment for Defendants under state preemption.

       As Attorney General Hood described the State’s case, “this is just a simple case of where

they’ve overcharged the ratepayers.” Tr. of Sept. 26, 2018 H’rg at 7:20-21; see also, e.g., Doc. 135

at ¶¶ 7-8 (complaining about “inflated power bills” and “inflation of invoices”); Doc. 262-13 at

36:19-24 (State’s Rule 30(b)(6) witness’s deposition testimony that Defendants’ alleged

misconduct led to “EMI’s prices” being “too high”). But any claims that a utility has overcharged

its customers, to the extent they are not federally preempted, must be presented to the MPSC in

the first instance. Whatever ambiguity in the law may have existed when Judge Wingate decided


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this issue, it has now been clarified by the Mississippi Legislature. By overwhelming majorities

(90-26         in       the        House,         48-2        in       the        Senate,        see

http://billstatus.ls.state.ms.us/2018/pdf/history/SB/SB2295.xml), the Legislature has enacted S.B.

2295, a provision precluding the Attorney General’s suit. That provision must be consulted to

clarify the meaning of pre-enactment law, and in any event applies directly to any action (such as

this one) that was pending on the date of enactment.

         When Judge Wingate decided the state preemption issue in late 2016, two Mississippi

provisions were in tension. On the one hand, Miss. Code Ann. Section 77-3-5 provided that “the

[MPSC] shall have exclusive original jurisdiction over the intrastate business and property of

public utilities,” which encompasses the rates a utility charges and any practices or methods or

formulas that go into determining those rates, see, e.g., Miss. Rural Water Ass’n v. Miss. Pub. Serv.

Comm’n, 222 So.3d 288, 292-94 (Miss. 2017). On the other hand, Section 77-1-43(2) provided

that “[a]ny action for violation of the law, or for violation of any lawful rule, regulation or order

of the commission may be instituted by the commission or by the Attorney General in any court

of competent jurisdiction.” Judge Wingate found the latter to override the former. Doc. 86 at 32.

         In enacting S.B. 2295 by overwhelming majorities, the Mississippi Legislature has clarified

this ambiguity. Specifically, in reenacting various provisions of Chapter 77 that were to “sunset,”

the Legislature amended Section 77-1-43(2) to clarify that the Attorney General has no special

authority that overrides Section 77-3-5’s explicit grant of exclusive original jurisdiction to the

MPSC. The new statute’s purpose is to “AMEND … 77-1-43 TO CLARIFY” its meaning.

S.B. 2295, Preamble (Doc. 262-4 at 1). The amended Section 77-1-43 does so by deleting the

language “may be instituted … by the Attorney General in any court of competent jurisdiction,”

and providing instead that only “at the request of the commission by order after notice and hearing”



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may “the Attorney General” institute … proceedings in court.” S.B. 2295, § 19 (Doc. 262-4 at 16-

17) (codified at Miss. Code Ann. § 77-1-43). S.B. 2295 also “AMEND[S] … 77-3-5 TO

CLARIFY” its meaning. S.B. 2295, Preamble (Doc. 262-4 at 1). Specifically, amended Section

77-3-5 provides that the MPSC’s “exclusive original jurisdiction over the intrastate business and

property of public utilities” extends to challenges to “rates,” including “the accuracy or reliability

information submitted to [MPSC] … in support of … [rates], regardless of the legal theory upon

which such challenge is made.” S.B. 2295, § 24 (Doc. 262-4 at 20-21) (codified at Miss. Code

Ann. § 77-3-5).

       Whether or not S.B. 2295 is retroactive in the sense that it directly applies to the instant

case, it is at minimum “post-event legislation” that may be considered “to clarify the pre-enactment

content of the law.” Estate of Stamper v Edwards, 607 So.2d 1141, 1149 (Miss. 1992). In Stamper,

a Mississippi statute set forth a presumption concerning treatment of a “deposit” made by two co-

depositors upon the death of one of them; in 1987, the Mississippi Supreme Court interpreted the

word “deposit” in the statute not to encompass a certificate of deposit; and in 1988, the Mississippi

Legislature amended the statute “to Clarify” that the word “deposit” does encompass a certificate

of deposit, thus effectively “overrul[ing]” the 1987 Mississippi Supreme Court decision. See id.

at 1148-49 (describing this chronology). At issue in Stamper was whether the amended statute

was relevant to a certificate of deposit created before the amendment. The Mississippi Supreme

Court held that it was relevant because “post-event legislation [can] clarify the pre-enactment

content of the law.” Id. at 1149. So too here, the pre-enactment content of the law was ambiguous,

Judge Wingate resolved the ambiguity in one way, and the Mississippi Supreme Court

subsequently resolved it in the opposite way. Just as in Stamper, this Court should not “blind [its]

vision to what has occurred.” Id.



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          If the Court does not find it sufficient to rely under Stamper on S.B. 2295 as an interpretive

tool concerning pre-enactment law, the Court should find under Mississippi law that S.B. 2295 has

direct application to a pending action such as this one. The Mississippi Legislature does not always

explicitly or consistently make clear its intent; sometimes it explicitly says legislation is

prospective, sometimes it explicitly says legislation is retroactive, and sometimes it is silent. For

example:

 Explicitly prospective                               “This act shall take effect and be in force
                                                      from and after January 1, 2003, and shall
                                                      apply to all causes of action filed on or after
                                                      that date.”

                                                          2002 Miss. Laws 3rd Ex. Sess. Ch. 4, § 16
                                                          (H.B. 19) (emphasis added)

 Explicitly retroactive                               “This act shall take effect and be in force
                                                      from and after July 1, 1993. Procedural
                                                      provisions of this act including subsections
                                                      (1)(a), (b), (c) and (d) of Section 2 shall apply
                                                      to all pending actions in which judgment has
                                                      not been entered on the effective date of the
                                                      act and all actions filed on or after the
                                                      effective date of the act. All other provisions
                                                      shall apply to all actions filed on or after July
                                                      1, 1994.”

                                                          1993 Miss. Laws Ch. 302, § 5 (H.B. 1270)
                                                          (emphasis added)

 Silent                                               “This act shall take effect and be in force
                                                      from and after July 1, 2018.”

                                                          2018 Miss. Laws Ch. 402, § 25 (S.B.
                                                          2295)


          It is therefore necessary to consult Mississippi Supreme Court case law on what default

rule to apply in the case of a statute that, like S.B. 2295, is silent on the cases to which it applies.

The relevant default rule here is the “pending-action canon”: new legislation that amends a statute


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at issue in an action, applies to any action pending on the date of the enactment of the new

legislation. In Miss. Dep’t of Corr. v. Roderick & Solange MacArthur Justice Ctr., 220 So.3d 929,

(Miss. 2017) (“MDOC”), for example, a requester of information under the Mississippi Public

Records Act brought an action against the target (the Mississippi Department of Corrections) to

enforce the request. While the action was pending (indeed while an appeal in the action was

pending), the Legislature amended the Act to exempt the sort of information requested. The

amending legislation, like S.B. 2295, was silent on retroactivity or prospectivity, saying only:

“This act shall take effect and be in force from and after its passage.” 2017 Miss. Laws Ch. 406

(H.B. 638), § 2. The Mississippi Supreme Court held that the amendment applied to the pending

action such that the requested information was exempt from any disclosure requirement,

explaining: “When the Legislature chooses to amend or modify any law related to a pending

action, this Court applies the Legislature’s most recent pronouncement.” 220 So.3d at 933. See

also, e.g., Cellular S., Inc. v. BellSouth Telecommunications, LLC, 214 So.3d 208, 213 (Miss.

2017) (applying to pending action an amendment deleting a Public Records Act exemption);

USPCI of Miss., Inc. v. State ex rel. McGowan, 688 So.2d 783, 787 (Miss. 1997) (applying to

pending action an amendment removing Governor’s Office from the scope of the Administrative

Procedures Law to pending case); Stone v. Indep. Linen Serv. Co., 55 So.2d 165, 168-69 (1951)

(applying to pending action an amendment exempting use of goods purchased out of state from

taxation).

       Similarly here, S.B. 2295 is silent on the retroactivity or prospectivity of its amendments,

stating only: “This act shall take effect and be in force from and after July 1, 2018.” S.B. 2295,

§ 25 (Doc. 262-4 at 22). This action was pending on that date. Accordingly, under the pending-

action canon, the amendments apply directly to this action. Indeed, even under the more restrictive



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view of the pending-action canon adopted by Justice Dickinson in his MDOC concurrence,

S.B. 2295 applies to this action. Justice Dickinson, relying on U.S. Supreme Court precedent,

relied on a distinction between an amendment that regulates “primary conduct” and one (like a

procedural rule) that regulates “secondary conduct,” and argued that an amendment that regulates

secondary conduct should apply to an action that is pending on the date of enactment. 220 So.3d

at 940 & n.18 (quoting Landgraf v. USI Film Prods., 511 U.S. 244, 273 (1994) (Scalia, J.,

concurring)). And the U.S. Supreme Court has made clear that an amendment that “affect[s] only

where a suit may be brought, not whether it may be brought at all” concerns secondary conduct

and hence applies to a pending action. Hughes Aircraft Co. v. United States ex rel. Schmuer, 520

U.S. 939, 951 (1997) (emphasis in original). That is the case here. S.B. 2295 clarifies that the

Attorney General must bring a challenge to an electric utility’s rates and ratemaking practices

before the MPSC rather than in court. Accordingly, S.B. 2295 applies to this pending action.

       The Door Shop, Inc. v. Alcorn County Electric Power Association, 261 So.3d 1099, 1102

n.3 (Miss. 2018), is not to the contrary. First, The Door Shop did not address the Stamper principle

that a new amendment, even if not directly applicable to a pending action, can be used to clarify

the meaning of a pre-enactment law. Second, to the extent The Door Shop addressed the

“retroactivity” of S.B. 2295 and suggested that it “does not operate retroactively,” id., the

suggestion is pure dictum because S.B. 2295 amended Section 77-3-5’s first paragraph, which

applies to utilities like EMI, and did not amend Section 77-3-5(b), which applies to electric power

associations. Because the entity in The Door Shop was an electric power association, S.B. 2295,

even if retroactive, could not apply. (Not surprisingly, the briefs in The Door Shop did not mention

S.B. 2295.) Relatedly, The Door Shop’s dictum did not address the Mississippi Supreme Court’s

holdings in cases like MDOC. As between MDOC’s holding and The Door Shop’s dictum, the



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former binds this Court. See Centennial Ins. Co. v. Ryder Truck Rental, Inc., 149 F.3d 378, 382,

385 (5th Cir. 1998).

III.    At A Minimum, The State May Not Pursue Damages On Behalf Of Entergy
        Mississippi Customers Other Than The State

        Even if this Court is not inclined to accept either of Defendants’ dispositive federal and

state preemption arguments before trial, this Court should make a separate legal ruling that would

narrow the scope of the State’s case and thus facilitate a settlement before trial. Specifically, the

Court should rule that the State (through the Attorney General) has standing to seek recovery only

for harm allegedly suffered by the State as a customer of EMI, not harm allegedly suffered by

private individuals and businesses as customers of EMI.

        The Fifth Circuit so held in Mississippi ex rel. Hood v. AU Optronics Corp., 701 F.3d 796,

800-01 (5th Cir. 2012), rev’d on other grounds, 571 U.S. 161 (2014). That case involved

relevantly similar circumstances—alleged inflation of the prices of LCD screens, as opposed to

electricity. The Fifth Circuit held there that the “MCPA [Mississippi Consumer Protection Act]

… does not authorize public collection of private damages. Similarly, the MAA [Mississippi

Antitrust Act] allows the State to sue for injunctive relief and civil penalties, but not for restitution

for injuries suffered by parties other than the State.” 701 F.3d at 800-01 (internal citations

omitted). And as to common law claims, the Fifth Circuit expressed serious doubt that “the State

ha[s] carte blanche to recover for others’ injuries under common law parens patriae authority.”

Id. at 802.

        Further, as to all of the State’s asserted founts of authority (the MCPA, MAA, and common

law) in AU Optronics, the Fifth Circuit reasoned:

        Mississippi law clearly prohibits double recovery for the same harm to respective
        class members. Thus, the state cannot recover for the injury to the consumers and
        still preserve the right of the consumers to recover a right that the consumers clearly
        have under the statutes pursuant to which the suit is brought. In short, we have

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         been directed to no statutory or common law that permits the State to extinguish
         the right and remedy the consumer has for his injury.

Id. at 801 (internal citations omitted); see also Miss. ex rel. Hood v. Bristol-Myers Squibb,

No. 1:12-CV-00179, 2013 WL 3280267, at *7 (S.D. Miss. June 27, 2013) (following AU

Optronics’ holding that the MCPA “does not authorize public collection of private damages” in

context of attempted claim by the State concerning allegedly misleading marketing that caused

private individuals and businesses to purchase the prescription drug Plavix® rather than aspirin).

         The Supreme Court’s reversal of the Fifth Circuit’s decision in AU Optronics did not

disturb these holdings, as it concerned only interpretation of “persons” in the Class Action Fairness

Act, 28 U.S.C. § 1332(d)(11)(B)(i), see 571 U.S. at 169, and did not discuss or call into doubt the

Fifth Circuit’s interpretations of the State’s lack of authority under Mississippi law to recover harm

allegedly suffered by private individuals/businesses as opposed to by the State itself.

         Here, as in AU Optronics and Bristol-Myers Squibb, the State is improperly attempting to

sue for harm allegedly suffered by private individuals and businesses. See, e.g., Doc. 135 at ¶ 8

(seeking “damages to which Mississippians are entitled”); id. at ¶ 116 (“EMI and the other

Defendants hold monies and assets received and usurped from Mississippi residents and the State

of Mississippi ….”) (emphasis added); Jim Hood: Entergy ‘tricked’ PSC in approving rates with

misleading info, CLARION LEDGER (Mar. 10, 2018) (“I represent the interests of the citizens by

asking          a         court         to         return         their         money           ….”),

https://www.clarionledger.com/story/opinion/columnists/2018/03/10/jim-hood-entergy-tricked-

psc-approving-rates-misleading-info/411305002/. Accordingly, this Court should rule as a matter

of law under AU Optronics that the State lacks standing to do so.

         To the extent the State seeks to recover for harm allegedly suffered by the State itself as a

consumer of EMI electricity at state offices and otherwise, see, e.g., Doc. 135 at ¶ 17.F (“[T]he


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Attorney General may bring suit to protect the State’s direct interest as a customer of Entergy.”),

the State does have standing, subject to Defendants’ other arguments (including federal and state

preemption).

                                         CONCLUSION

       Defendants respectfully urge the Court to rule before trial that the State’s case is preempted

by federal or state law or, at a minimum, that the State may seek to recover only alleged harm to

the State as a customer of EMI, not to private individuals and businesses as customers of EMI.

RESPECTFULLY SUBMITTED, this 11th day of March, 2019.

                                                      ENTERGY MISSISSIPPI, INC.,
                                                      ENTERGY CORPORATION, ENTERGY
                                                      SERVICES, INC. AND ENTERGY
                                                      POWER, INC., Defendants

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                                                18
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                                     19
                                 CERTIFICATE OF SERVICE

        I do hereby certify that I have this day electronically filed the foregoing with the Clerk of
the Court using the ECF system which will send notification of such filing to all counsel of
record.


       This 11th day of March, 2019.


                                                      /s/ Roy D. Campbell, III
                                                      OF COUNSEL




                                                 20
